                                         Case: 15-10600                        Doc: 1             Filed: 02/25/15                       Page: 1 of 47
B1 (Official Form 1) (04/13)
                                                 United States Bankruptcy Court
                                               WESTERN DISTRICT OF OKLAHOMA                                                                                      Voluntary Petition
                                                   OKLAHOMA CITY DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Barnes, Robert Ray

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-3564                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
624 S Macarthur
Oklahoma City, OK
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            73128
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Oklahoma
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
P.O. Box 696
Oklahoma City, OK
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            73101
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2014 (Build 11.2.1.1, ID 1990967344)
                                        Case: 15-10600                     Doc: 1           Filed: 02/25/15                   Page: 2 of 47
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Robert Ray Barnes
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 Western District of Oklahoma                                                               93-11134                                       3/3/1993
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ O. Clifton Gooding                                             2/25/2015
                                                                                                 O. Clifton Gooding                                                    Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                        Case: 15-10600                        Doc: 1         Filed: 02/25/15                    Page: 3 of 47
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Robert Ray Barnes
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Robert Ray Barnes
      Robert Ray Barnes
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     2/25/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ O. Clifton Gooding                                                                defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      O. Clifton Gooding                               Bar No. 10315                         have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 The Gooding Law Firm, P.C.
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 204 N. Robinson                                                                             given the debtor notice of the maximum amount before preparing any document
 Suite 650                                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
 Oklahoma City, OK 73102                                                                     section. Official Form 19 is attached.


          (405) 948-1978
 Phone No.______________________        (405) 948-0864
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     2/25/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                             Case: 15-10600             Doc: 1         Filed: 02/25/15            Page: 4 of 47
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF OKLAHOMA
                                                 OKLAHOMA CITY DIVISION
In re:   Robert Ray Barnes                                                               Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                             Case: 15-10600             Doc: 1       Filed: 02/25/15           Page: 5 of 47
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF OKLAHOMA
                                                 OKLAHOMA CITY DIVISION
In re:   Robert Ray Barnes                                                            Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Robert Ray Barnes
                       Robert Ray Barnes

Date:        2/25/2015
                             Case: 15-10600   Doc: 1   Filed: 02/25/15               Page: 6 of 47
B6A (Official Form 6A) (12/07)



In re Robert Ray Barnes                                                  Case No.
                                                                                                              (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                           Current Value




                                                                                 Husband, Wife, Joint,
                                                                                                            of Debtor's
                   Description and                      Nature of Debtor's




                                                                                   or Community
                                                                                                             Interest in
                     Location of                       Interest in Property
                                                                                                         Property, Without    Amount Of
                      Property                                                                                               Secured Claim
                                                                                                          Deducting Any
                                                                                                          Secured Claim
                                                                                                           or Exemption


  None




                                                                              Total:                                $0.00
                                                                              (Report also on Summary of Schedules)
                                 Case: 15-10600            Doc: 1      Filed: 02/25/15           Page: 7 of 47
B6B (Official Form 6B) (12/07)




In re Robert Ray Barnes                                                                   Case No.
                                                                                                         (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                              Husband, Wife, Joint,
                                                                                                                                      Current Value of
                                                                                                                                      Debtor's Interest




                                                                                                                or Community
                                                                                                                                         in Property,
                                          None                                                                                        Without Deducting
             Type of Property                                 Description and Location of Property                                      any Secured
                                                                                                                                           Claim or
                                                                                                                                          Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             BancFirst Checking Account ending 6526                             -                         $450.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household goods and furnishings                                    -                       $2,000.00
including audio, video and computer              624 S Macarthur #338
equipment.                                       Oklahoma City, OK 73128


5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Wearing Apparel                                                    -                       $1,200.00
                                                 624 S Macarthur #338
                                                 Oklahoma City, OK 73128


7. Furs and jewelry.                      X

8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.
                                 Case: 15-10600    Doc: 1       Filed: 02/25/15         Page: 8 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Robert Ray Barnes                                                         Case No.
                                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                  Continuation Sheet No. 1




                                                                                                     Husband, Wife, Joint,
                                                                                                                             Current Value of
                                                                                                                             Debtor's Interest




                                                                                                       or Community
                                                                                                                                in Property,
                                           None                                                                              Without Deducting
             Type of Property                         Description and Location of Property                                     any Secured
                                                                                                                                  Claim or
                                                                                                                                 Exemption


10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to         X
debtor including tax refunds. Give
particulars.
                                 Case: 15-10600              Doc: 1       Filed: 02/25/15         Page: 9 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Robert Ray Barnes                                                                   Case No.
                                                                                                          (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 2




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,
                                            None                                                                                       Without Deducting
             Type of Property                                   Description and Location of Property                                     any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 2003 Buick Lesabre - Mileage100,000                               -                       $5,575.00
and other vehicles and accessories.                624 S Macarthur #338
                                                   Oklahoma City, OK 73128
                                Case: 15-10600              Doc: 1         Filed: 02/25/15             Page: 10 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Robert Ray Barnes                                                                       Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None                                                                                                Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                            $9,225.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                                Case: 15-10600               Doc: 1         Filed: 02/25/15            Page: 11 of 47
B6C (Official Form 6C) (4/13)



In re Robert Ray Barnes                                                                        Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 BancFirst Checking Account ending 6526                  Okla. Stat. tit. 12 § 1171.1                             $337.50                 $450.00

 Household goods and furnishings                         Okla. Stat. tit. 31 § 1(A)(3)                          $2,000.00               $2,000.00
 624 S Macarthur #338
 Oklahoma City, OK 73128

 Wearing Apparel                                         Okla. Stat. tit. 31 § 1(A)(7)                          $1,200.00               $1,200.00
 624 S Macarthur #338
 Oklahoma City, OK 73128

 2003 Buick Lesabre - Mileage100,000                     Okla. Stat. tit. 31 § 1(A)(13)                         $5,575.00               $5,575.00
 624 S Macarthur #338
 Oklahoma City, OK 73128




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $9,112.50               $9,225.00
                            Case: 15-10600                                        Doc: 1   Filed: 02/25/15           Page: 12 of 47
B6D (Official Form 6D) (12/07)
          In re Robert Ray Barnes                                                                            Case No.
                                                                                                                                           (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                           DATE CLAIM WAS                                AMOUNT OF          UNSECURED




                                                                                                                      UNLIQUIDATED
           MAILING ADDRESS                                                           INCURRED, NATURE                                  CLAIM            PORTION, IF




                                                                                                                       CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                        DISPUTED
       INCLUDING ZIP CODE AND                                                           OF LIEN, AND                                  WITHOUT              ANY
         AN ACCOUNT NUMBER                                                            DESCRIPTION AND                                DEDUCTING
         (See Instructions Above.)                                                        VALUE OF                                    VALUE OF
                                                                                     PROPERTY SUBJECT                                COLLATERAL
                                                                                           TO LIEN




                                                                                             Subtotal (Total of this Page) >                   $0.00               $0.00
                                                                                            Total (Use only on last page) >                     $0.00               $0.00
________________continuation
       No                    sheets attached                                                                                         (Report also on    (If applicable,
                                                                                                                                     Summary of         report also on
                                                                                                                                     Schedules.)        Statistical
                                                                                                                                                        Summary of
                                                                                                                                                        Certain Liabilities
                                                                                                                                                        and Related
                                                                                                                                                        Data.)
                               Case: 15-10600                 Doc: 1          Filed: 02/25/15              Page: 13 of 47
B6E (Official Form 6E) (04/13)

In re Robert Ray Barnes                                                                           Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                               Case: 15-10600                                            Doc: 1        Filed: 02/25/15               Page: 14 of 47
B6E (Official Form 6E) (04/13) - Cont.
In re Robert Ray Barnes                                                                                                   Case No.
                                                                                                                                                   (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT          AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF          ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM         PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                   PRIORITY, IF
           (See instructions above.)                                                                                                                               ANY


ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
IRS                                                                              Notice Only                                         Notice Only     Notice Only   Notice Only
P.O. Box 7346                                                                    REMARKS:
Philadelphia, PA 19101-7346                                      -



ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Oklahoma Tax Commission                                                          Notice Only                                         Notice Only     Notice Only   Notice Only
Legal Division                                                                   REMARKS:
120 North Robinson, Ste. 2000                                    -
Oklahoma City, OK 73102-7471




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >              $0.00           $0.00         $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                            $0.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                         $0.00         $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                            Case: 15-10600                            Doc: 1                     Filed: 02/25/15        Page: 15 of 47
B6F (Official Form 6F) (12/07)
  In re Robert Ray Barnes                                                                                        Case No.
                                                                                                                            (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                  UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                 CLAIM




                                                                                                                                   CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                    DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-8133                                                           DATE INCURRED:   04/2010
                                                                                      CONSIDERATION:
American Express                                                                      Credit Card                                                    $5,615.00
P.O. Box 3001                                                                         REMARKS:
                                                                   -
Malvern, PA 19355



ACCT #: xxxx-xxxx-xxxx-4023                                                           DATE INCURRED:   05/2010
                                                                                      CONSIDERATION:
American Express                                                                      Credit Card                                                    $2,870.00
P.O. Box 3001                                                                         REMARKS:
                                                                   -
Malvern, PA 19355



ACCT #: xxxx-xxxx-xxxx-2211                                                           DATE INCURRED:   08/2014
                                                                                      CONSIDERATION:
Bank of America                                                                       Credit Card                                                    $9,089.00
P.O. Box 982235                                                                       REMARKS:
                                                                   -
El Paso, TX 79998



ACCT #: xxxx-xxxx-xxxx-6379                                                           DATE INCURRED:   10/2011
                                                                                      CONSIDERATION:
Bank of America                                                                       Credit Card                                                    $7,700.00
P.O. Box 982235                                                                       REMARKS:
                                                                   -
El Paso, TX 79998



ACCT #: xxxx-xxxx-xxxx-3399                                                           DATE INCURRED:
                                                                                      CONSIDERATION:
Bank of Oklahoma                                                                      Credit Card                                                    $4,025.67
P.O. Box 790408                                                                       REMARKS:
                                                                   -
St. Louis, MO 63179-0408



ACCT #: xxxx-xxxx-xxxx-0485                                                           DATE INCURRED:   09/2008
                                                                                      CONSIDERATION:
Chase Card                                                                            Credit Card                                                   $15,587.00
P.O. Box 15298                                                                        REMARKS:
                                                                   -
Wilmington, DE 19850



                                                                                                                              Subtotal >             $44,886.67

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       2                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                              Case: 15-10600                              Doc: 1                     Filed: 02/25/15         Page: 16 of 47
B6F (Official Form 6F) (12/07) - Cont.
  In re Robert Ray Barnes                                                                                             Case No.
                                                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 Representing:                                                                            Allied Interstate                                             Notice Only
 Chase Card                                                                               P.O. Box 15548
                                                                                          Wilmington, DE 19886-5548



ACCT #: xxxx-xxxx-xxxx-0501                                                               DATE INCURRED:   08/2009
                                                                                          CONSIDERATION:
Chase Card                                                                                Credit Card                                                    $12,692.00
P.O. Box 15298                                                                            REMARKS:
                                                                       -
Wilmington, DE 19850




 Representing:                                                                            Allied Interstate                                             Notice Only
 Chase Card                                                                               P.O. Box 15548
                                                                                          Wilmington, DE 19886-5548



ACCT #: xxxx-xxxx-xxxx-5374                                                               DATE INCURRED:   12/2012
                                                                                          CONSIDERATION:
Chase Card                                                                                Credit Card                                                     $1,664.00
P.O. Box 15298                                                                            REMARKS:
                                                                       -
Wilmington, DE 19850




 Representing:                                                                            Allied Interstate                                             Notice Only
 Chase Card                                                                               P.O. Box 15548
                                                                                          Wilmington, DE 19886-5548



ACCT #: xxxx-xxxx-xxxx-5575                                                               DATE INCURRED:   08/2014
                                                                                          CONSIDERATION:
Citibank                                                                                  Credit Card                                                     $4,375.00
P.O. Box 790040                                                                           REMARKS:
                                                                       -
Saint Louis, MO 63179



Sheet no. __________
              1        of __________
                               2     continuation sheets attached to                                                               Subtotal >             $18,731.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                              Case: 15-10600                              Doc: 1                     Filed: 02/25/15        Page: 17 of 47
B6F (Official Form 6F) (12/07) - Cont.
  In re Robert Ray Barnes                                                                                            Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-5141                                                               DATE INCURRED:   11/2011
                                                                                          CONSIDERATION:
Discover Fin Svcs Llc                                                                     Credit Card                                                    $2,881.00
P.O. Box 15316                                                                            REMARKS:
                                                                       -
Wilmington, DE 19850



ACCT #: xxxxxxxx7981                                                                      DATE INCURRED:   11/2013
                                                                                          CONSIDERATION:
Discover Personal Loan                                                                    Personal Loan                                                 $16,509.00
P.O. Box 30954                                                                            REMARKS:
                                                                       -
Salt Lake City, UT 84130



ACCT #: xxxx-xxxx-xxxx-3399                                                               DATE INCURRED:   07/2010
                                                                                          CONSIDERATION:
Elan Financial Service                                                                    Credit Card                                                    $4,025.00
777 E Wisconsin Ave                                                                       REMARKS:
                                                                       -
Milwaukee, WI 53202



ACCT #: xxxx-xxxx-xxxx-5975                                                               DATE INCURRED:   07/2014
                                                                                          CONSIDERATION:
JC Penney                                                                                 Credit Card                                                    $7,113.00
c/o GE Credit Retail Bank                                                                 REMARKS:
                                                                       -
P.O. Box 103104
Roswell, GA 30076

ACCT #: xxxx-xxxx-xxxx-9573                                                               DATE INCURRED:   01/2013
                                                                                          CONSIDERATION:
Phillips 66                                                                               Charge Account                                                    $83.00
c/o Syncb                                                                                 REMARKS:
                                                                       -
P.O. Box 981400
El Paso, TX 79998




Sheet no. __________
              2        of __________
                               2     continuation sheets attached to                                                              Subtotal >             $30,611.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                      $94,228.67
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                 Case: 15-10600         Doc: 1        Filed: 02/25/15           Page: 18 of 47
B6G (Official Form 6G) (12/07)
   In re Robert Ray Barnes                                                              Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                                 Case: 15-10600                Doc: 1          Filed: 02/25/15              Page: 19 of 47
B6H (Official Form 6H) (12/07)
In re Robert Ray Barnes                                                                            Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                              Case: 15-10600                  Doc: 1         Filed: 02/25/15                     Page: 20 of 47

 Fill in this information to identify your case:
     Debtor 1              Robert               Ray                     Barnes
                           First Name           Middle Name             Last Name                           Check if this is:
     Debtor 2                                                                                                    An amended filing
     (Spouse, if filing)   First Name           Middle Name             Last Name
                                                                                                                 A supplement showing post-petition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF OKLAHOMA
                                                                                                                 chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                 MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                               12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                              Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status              Employed                                           Employed
      with information about                                           Not employed                                       Not employed
      additional employers.
                                        Occupation              Operations Manager
      Include part-time, seasonal,
      or self-employed work.            Employer's name         Mid America Chemical

      Occupation may include            Employer's address      1801 Skyline Dr
      student or homemaker, if it                               Number Street                                      Number Street
      applies.
                                                                Oklahoma City, OK 73129

                                                                Paid Weekly; Friday


                                                                City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?         16 years 11 months


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $3,120.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                       3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.               $3,120.00




Official Form B 6I                                             Schedule I: Your Income                                                                page 1
                                     Case: 15-10600                            Doc: 1               Filed: 02/25/15                          Page: 21 of 47
Debtor 1 Robert                               Ray                                Barnes                                          Case number (if known)
           First Name                         Middle Name                        Last Name


                                                                                                                    For Debtor 1                  For Debtor 2 or
                                                                                                                                                  non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $3,120.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $951.51
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.                $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $951.51
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,168.49
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $2,168.49           +                       =       $2,168.49
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                 11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                 12.             $2,168.49
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form B 6I                                                               Schedule I: Your Income                                                                           page 2
                              Case: 15-10600                    Doc: 1         Filed: 02/25/15               Page: 22 of 47

 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Robert                 Ray                    Barnes                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF OKLAHOMA                                   MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,200.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                         $0.00
      4b. Property, homeowner's, or renter's insurance                                                               4b.                         $0.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                         $0.00

      4d. Homeowner's association or condominium dues                                                                4d.                         $0.00




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
                               Case: 15-10600               Doc: 1       Filed: 02/25/15           Page: 23 of 47
Debtor 1 Robert                     Ray                     Barnes                          Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.                      $0.00
6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                     $0.00
     6b. Water, sewer, garbage collection                                                                  6b.                     $0.00
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                   $140.00
         cable services
     6d. Other. Specify:                                                                                   6d.                     $0.00
7.   Food and housekeeping supplies                                                                        7.                    $315.00
8.   Childcare and children's education costs                                                              8.                      $0.00
9.   Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                    $138.00
10. Personal care products and services                                                                    10.                    $34.00
11. Medical and dental expenses                                                                            11.                    $75.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                   $150.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                     $0.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.                     $0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                                15a.                    $0.00
     15b.    Health insurance                                                                              15b.                    $0.00
     15c.    Vehicle insurance                                                                             15c.                  $100.00
     15d.    Other insurance. Specify:                                                                     15d.                    $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.                     $0.00
17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                                    17a.                    $0.00
     17b.    Car payments for Vehicle 2                                                                    17b.                    $0.00
     17c.    Other. Specify:                                                                               17c.                    $0.00
     17d.    Other. Specify:                                                                               17d.                    $0.00
18. Your payments of alimony, maintenance, and support that you did not report as                          18.                     $0.00
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.                     $0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                                   20a.                    $0.00
     20b.    Real estate taxes                                                                             20b.                    $0.00
     20c.    Property, homeowner's, or renter's insurance                                                  20c.                    $0.00
     20d.    Maintenance, repair, and upkeep expenses                                                      20d.                    $0.00
     20e.    Homeowner's association or condominium dues                                                   20e.                    $0.00
21. Other. Specify:                                                                                        21.     +


 Official Form B 6J                                         Schedule J: Your Expenses                                               page 2
                            Case: 15-10600               Doc: 1         Filed: 02/25/15              Page: 24 of 47
Debtor 1 Robert                   Ray                      Barnes                             Case number (if known)
           First Name             Middle Name              Last Name


22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $2,152.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $2,168.49
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –   $2,152.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.         $16.49

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3
                           Case: 15-10600             Doc: 1      Filed: 02/25/15       Page: 25 of 47
Debtor 1 Robert                   Ray                 Barnes                      Case number (if known)
         First Name               Middle Name         Last Name



9.   Clothing, laundry, and dry cleaning (details):
     Wearing apparel                                                                                        $88.00
     Laundry and Dry Cleaning                                                                               $50.00

                                                                                        Total:             $138.00




 Official Form B 6J                                   Schedule J: Your Expenses                               page 4
                               Case: 15-10600             Doc: 1    Filed: 02/25/15          Page: 26 of 47
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF OKLAHOMA
                                                  OKLAHOMA CITY DIVISION
   In re Robert Ray Barnes                                                           Case No.

                                                                                     Chapter      7



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                       $0.00


 B - Personal Property                            Yes      4                  $9,225.00

 C - Property Claimed                             Yes      1
     as Exempt
 D - Creditors Holding                            Yes      1                                               $0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      2                                               $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      3                                          $94,228.67
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      2                                                                 $2,168.49
     Individual Debtor(s)
 J - Current Expenditures of                      Yes      4                                                                 $2,152.00
    Individual Debtor(s)

                                             TOTAL         20                  $9,225.00              $94,228.67
                              Case: 15-10600            Doc: 1       Filed: 02/25/15          Page: 27 of 47
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF OKLAHOMA
                                                  OKLAHOMA CITY DIVISION
   In re Robert Ray Barnes                                                            Case No.

                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                     $2,168.49

 Average Expenses (from Schedule J, Line 22)                                   $2,152.00

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $3,340.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $94,228.67

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $94,228.67
                             Case: 15-10600              Doc: 1      Filed: 02/25/15            Page: 28 of 47
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Robert Ray Barnes                                                                Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 2/25/2015                                               Signature    /s/ Robert Ray Barnes
                                                                         Robert Ray Barnes

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                                 Case: 15-10600                 Doc: 1          Filed: 02/25/15               Page: 29 of 47
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF OKLAHOMA
                                                      OKLAHOMA CITY DIVISION
   In re:   Robert Ray Barnes                                                                        Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $3,393.00                   2015 Income from Employment:
        $41,766.00                  2014 Income from Employment:
        $40389.00                   2013 Income from Employment:

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $0.00                       2015 Income from Gambling Winnings:
        $93,553.00                  2014 Income from Gambling Winnings:
        $5,600.00                   2013 Income from Gambling Winnings:

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                Case: 15-10600                 Doc: 1         Filed: 02/25/15              Page: 30 of 47
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF OKLAHOMA
                                                     OKLAHOMA CITY DIVISION
   In re:   Robert Ray Barnes                                                                     Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        The Gooding Law Firm                                         02/10/2015                       $1,000.00
        204 N. Robinson
        Suite 650
        Oklahoma City, OK 73102

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
                                 Case: 15-10600                 Doc: 1         Filed: 02/25/15               Page: 31 of 47
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF OKLAHOMA
                                                      OKLAHOMA CITY DIVISION
   In re:   Robert Ray Barnes                                                                       Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 2



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:
                                 Case: 15-10600                  Doc: 1          Filed: 02/25/15               Page: 32 of 47
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF OKLAHOMA
                                                      OKLAHOMA CITY DIVISION
   In re:   Robert Ray Barnes                                                                        Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.
                                 Case: 15-10600                  Doc: 1           Filed: 02/25/15               Page: 33 of 47
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF OKLAHOMA
                                                      OKLAHOMA CITY DIVISION
   In re:   Robert Ray Barnes                                                                         Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.
Date 2/25/2015                                                          Signature           /s/ Robert Ray Barnes
                                                                        of Debtor           Robert Ray Barnes

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
                                  Case: 15-10600               Doc: 1           Filed: 02/25/15           Page: 34 of 47
  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF OKLAHOMA
                                                     OKLAHOMA CITY DIVISION
  IN RE:     Robert Ray Barnes                                                                CASE NO

                                                                                              CHAPTER       7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                                 Describe Property Securing Debt:
 None




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                                Describe Leased Property:                        Lease will be Assumed pursuant to
 None                                                                                                           11 U.S.C. § 365(p)(2):
                                                                                                                YES              NO




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 2/25/2015                                                       Signature    /s/ Robert Ray Barnes
                                                                                 Robert Ray Barnes




Date                                                                 Signature
                          Case: 15-10600             Doc: 1         Filed: 02/25/15             Page: 35 of 47
B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF OKLAHOMA
                                             OKLAHOMA CITY DIVISION
In re Robert Ray Barnes                                                                   Case No.

                                                                                          Chapter             7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Robert Ray Barnes                                                   X    /s/ Robert Ray Barnes                             2/25/2015
                                                                        Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,              O. Clifton Gooding                  , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ O. Clifton Gooding
O. Clifton Gooding, Attorney for Debtor(s)
Bar No.: 10315
The Gooding Law Firm, P.C.
204 N. Robinson
Suite 650
Oklahoma City, OK 73102
Phone: (405) 948-1978
Fax: (405) 948-0864
E-Mail: cgooding@goodingfirm.com




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.
Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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FB 201A (Form 201A) (6/14)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                           UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF OKLAHOMA
                                                OKLAHOMA CITY DIVISION
IN RE:     Robert Ray Barnes                                                             CASE NO

                                                                                         CHAPTER      7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $1,000.00
     Prior to the filing of this statement I have received:                                        $1,000.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       2/25/2015                              /s/ O. Clifton Gooding
                         Date                                 O. Clifton Gooding                         Bar No. 10315
                                                              The Gooding Law Firm, P.C.
                                                              204 N. Robinson
                                                              Suite 650
                                                              Oklahoma City, OK 73102
                                                              Phone: (405) 948-1978 / Fax: (405) 948-0864




      /s/ Robert Ray Barnes
     Robert Ray Barnes
                          Case: 15-10600            Doc: 1       Filed: 02/25/15              Page: 39 of 47

                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF OKLAHOMA
                                           OKLAHOMA CITY DIVISION
  IN RE:   Robert Ray Barnes                                                       CASE NO

                                                                                  CHAPTER        7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 2/25/2015                                           Signature    /s/ Robert Ray Barnes
                                                                     Robert Ray Barnes



Date                                                     Signature
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           Allied Interstate
           P.O. Box 15548
           Wilmington, DE 19886-5548



           American Express
           P.O. Box 3001
           Malvern, PA 19355



           Bank of America
           P.O. Box 982235
           El Paso, TX 79998



           Bank of Oklahoma
           P.O. Box 790408
           St. Louis, MO 63179-0408



           Chase Card
           P.O. Box 15298
           Wilmington, DE 19850



           Citibank
           P.O. Box 790040
           Saint Louis, MO 63179



           Discover Fin Svcs Llc
           P.O. Box 15316
           Wilmington, DE 19850



           Discover Personal Loan
           P.O. Box 30954
           Salt Lake City, UT 84130



           Elan Financial Service
           777 E Wisconsin Ave
           Milwaukee, WI 53202
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           IRS
           P.O. Box 7346
           Philadelphia, PA 19101-7346



           JC Penney
           c/o GE Credit Retail Bank
           P.O. Box 103104
           Roswell, GA 30076


           Oklahoma Tax Commission
           Legal Division
           120 North Robinson, Ste. 2000
           Oklahoma City, OK 73102-7471


           Phillips 66
           c/o Syncb
           P.O. Box 981400
           El Paso, TX 79998
                               Case: 15-10600             Doc: 1           Filed: 02/25/15             Page: 42 of 47

 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 22A-1Supp:
 Debtor 1             Robert             Ray                   Barnes
                      First Name         Middle Name           Last Name                        1. There is no presumption of abuse.

 Debtor 2                                                                                       2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                           of abuse applies will be made under Chapter 7
                                                                                                   Means Test Calculation (Official Form 22A-2).
 United States Bankruptcy Court for the: WESTERN DISTRICT OF OKLAHOMA
                                                                                                3. The Means Test does not apply now because
 Case number                                                                                       of qualified military service but it could apply
 (if known)                                                                                        later.

                                                                                                 Check if this is an amended filing

Official Form 22A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known). If you believe that you are
exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying military
service, complete and file the Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 22A-1Supp)
with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A         Column B
                                                                                            Debtor 1         Debtor 2 or
                                                                                                             non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $3,340.00
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 22A-1                          Chapter 7 Statement of Your Current Monthly Income                                               page 1
                                       Case: 15-10600                                 Doc: 1                 Filed: 02/25/15                        Page: 43 of 47
Debtor 1        Robert                            Ray                              Barnes                                           Case number (if known)
                First Name                        Middle Name                      Last Name


                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

     Gross receipts (before all deductions)                                                               $0.00

     Ordinary and necessary operating expenses                                           –                $0.00
                                                                                                                       Copy
     Net monthly income from a business, profession, or farm                                              $0.00 here                           $0.00


6.   Net income from rental and other real property

     Gross receipts (before all deductions)                                                               $0.00

     Ordinary and necessary operating expenses                                           –                $0.00
                                                                                                                       Copy
     Net monthly income from rental or other real property                                                $0.00 here                           $0.00


7.   Interest, dividends, and royalties                                                                                                        $0.00
8.   Unemployment compensation                                                                                                                 $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

         10a.

         10b.

         10c. Total amounts from separate pages, if any.                                                                          +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $3,340.00   +               =         $3,340.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income

 Part 2:           Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

     12a.                                                                                                                                                                        $3,340.00
              Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                         Copy line 11 here                       12a.

              Multiply by 12 (the number of months in a year).                                                                                                              X      12

     12b.     The result is your annual income for this part of the form.                                                                                           12b.        $40,080.00




Official Form 22A-1                                              Chapter 7 Statement of Your Current Monthly Income                                                                  page 2
                                  Case: 15-10600                          Doc: 1               Filed: 02/25/15                      Page: 44 of 47
Debtor 1       Robert                      Ray                          Barnes                                    Case number (if known)
               First Name                  Middle Name                  Last Name


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                            Oklahoma

    Fill in the number of people in your household.                                        1

                                                                                                                                                                       $41,544.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                   Go to Part 3 and fill out Form 22A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X     /s/ Robert Ray Barnes                                                                   X
            Robert Ray Barnes                                                                            Signature of Debtor 2

           Date 2/25/2015                                                                                Date
                MM / DD / YYYY                                                                                    MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 22A-2.

      If you checked line 14b, fill out Form 22A-2 and file it with this form.




Official Form 22A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
                          Case: 15-10600               Doc: 1           Filed: 02/25/15        Page: 45 of 47

                                      Current Monthly Income Calculation Details
In re: Robert Ray Barnes                                                 Case Number:
                                                                         Chapter:     7

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5              4            3             2          Last       Avg.
                                              Months        Months         Months       Months        Months      Month        Per
                                               Ago           Ago            Ago          Ago           Ago                    Month

Debtor                                     Income from employment
                                              $3,600.00  $2,880.00          $3,600.00   $2,880.00     $4,200.00   $2,880.00   $3,340.00




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                                        Underlying Allowances (as of 02/25/2015)
In re: Robert Ray Barnes                                                  Case Number:
                                                                          Chapter:     7


                                                      Median Income Information
 State of Residence                                                   Oklahoma
 Household Size                                                       1
 Median Income per Census Bureau Data                                 $41,544.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          1
 Gross Monthly Income                                                 $3,340.00
 Income Level                                                         Not Applicable
 Food                                                                 $315.00
 Housekeeping Supplies                                                $30.00
 Apparel and Services                                                 $88.00
 Personal Care Products and Services                                  $34.00
 Miscellaneous                                                        $116.00
 Additional Allowance for Family Size Greater Than 4                  $0.00
 Total                                                                $583.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $60.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Household members 65 years of age or older
 Allowance per member                                                 $144.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $0.00

                                               Local Standards: Housing and Utilities
 State Name                                                           Oklahoma
 County or City Name                                                  Oklahoma County
 Family Size                                                          Family of 1
 Non-Mortgage Expenses                                                $436.00
 Mortgage/Rent Expense Allowance                                      $792.00
 Minus Average Monthly Payment for Debts Secured by Home              $0.00
 Equals Net Mortgage/Rental Expense                                   $792.00
 Housing and Utilities Adjustment                                     $0.00




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                                        Underlying Allowances (as of 02/25/2015)
In re: Robert Ray Barnes                                                  Case Number:
                                                                          Chapter:     7


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                South Region
 Number of Vehicles Operated                                          1
 Allowance                                                            $244.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                South Region
 Allowance (if entitled)                                              $184.00
 Amount Claimed                                                       $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                South Region
 Number of Vehicles with Ownership/Lease Expense                      0
                                                    First Car                                              Second Car
 Allowance
 Minus Average Monthly
 Payment for Debts
 Secured by Vehicle
 Equals Net Ownership /
 Lease Expense




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